                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TENNESSEE
                               AT KNOXVILLE

 CANDICE RANA SULFRIDGE                     )
                                            )
       Plaintiff,                           )
                                            )
 v.                                         )       No. 3:05-CV-188
                                            )       (Phillips/Guyton)
 JOHN HUFF, et al.,                         )
                                            )
       Defendants.                          )

 ______________________________________________________________________________

 ADAM TRAVIS DAVIS                         )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        )     No. 3:05-CV-191
                                           )     (Varlan/Guyton)
 JOHN HUFF, et al.,                        )
                                           )
       Defendants.                         )
 ______________________________________________________________________________

 CANDICE RANA SULFRIDGE,                   )
                                           )
       Plaintiff,                          )
                                           )     No. 3:05-CV-202
 v.                                        )     (Phillips/Guyton)
                                           )
 JOHN HUFF, et al.,                        )
                                           )
       Defendants.                         )
 ______________________________________________________________________________




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 ADAM TRAVIS DAVIS,                                               )
                                                                  )
        Plaintiff,                                                )
                                                                  )
 v.                                                               )       No. 3:05-CV-203
                                                                  )       (Varlan/Guyton)
 JOHN HUFF, et al.,                                               )
                                                                  )
        Defendants.                                               )



                                       MEMORANDUM AND ORDER

                   This matter is before the undersigned pursuant to 28 U.S.C. § 636(b), the Rules of

 this Court, and by Order [Doc. 37] of the Honorable Thomas W. Phillips, United States District

 Judge, for disposition of the Defendant’s Motion to Consolidate [Doc. 28].

                   The Defendant moves to have the case of Candice Rana Sulfridge v. John Huff, et

 al., Docket No. 3:05-CV-188, consolidated with several related actions. The first related case is

 captioned Candice Rana Sulfridge v. John Huff, et al.,1 Docket No. 3:05-CV-202. The Defendant

 further petitions this Court to consolidate the cases of Adam Travis Davis v. John Huff, et al.,2

 Docket No. 3:05-CV-191, and Adam Travis Davis v. John Huff, et al.,3 Docket No. 3:05-CV-203,

 with the above-styled case.

                   The above-cited cases raise the same claims and involve the same facts. In the

 interests of judicial economy, the Court finds this motion [Doc. 28] well-taken, and it is

 GRANTED. Accordingly, pursuant to Fed. R. Civ. P. 42(a), these four actions should be

 consolidated.      Case No. 3:05-CV-188 shall be designated as the lead case.                           The Clerk is


        1
            This case was originally filed in state court and removed to this Court on April 14, 2005.

        2
            This case was filed in this Court on April 8, 2005.

        3
            This case was also originally filed in state court and removed to this Court on April 14, 2005.



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 DIRECTED to administer the following four cases, No. 3:05-CV-188, No. 3:05-CV-191, No. 3:05-

 CV-202, and No. 3:05-CV-203, as consolidated for all future proceedings. All dates and deadlines

 previously set by the Court for case No. 3:05-CV-188 shall also be effective for case No. 3:05-CV-

 191, case No. 3:05-CV-202, and case No. 3:05-CV-203.

                The Clerk is DIRECTED to provide notice of this Memorandum and Order to the

 Honorable R. Allan Edgar, Chief Judge of the United States District Court for the Eastern District

 of Tennessee, in order that he may reassign case No. 3:05-CV-191 and case No. 3:05-CV-203 to the

 Honorable Thomas W. Phillips, the judge having the related case earliest filed, pursuant to E.D. TN.

 LR 3.2(d).

                IT IS SO ORDERED.

                                               ENTER:


                                                     s/ H. Bruce Guyton
                                               United States Magistrate Judge




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